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Attorney for Plaintiffs

                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING



CORY LEICK, an individual, and AMANDA                 )
LEICK, an individual,                                 )
                                                      )
               Plaintiffs,                            )
                                                      )
v.                                                    )       Civil No.: 24-CV-00073
                                                      )
WYOMING STATE FORESTRY                                )
DIVISION, WYOMING OFFICE OF                           )
STATE LANDS AND INVESTMENTS,                          )
JENIFER SCOGGIN, in her official capacity,            )
KELLY NORRIS, in her official capacity,               )
and GE FORESTRY, INC., an Oregon                      )
corporation,                                          )
                                                      )
                Defendants.                           )



      MOTION FOR PRO HAC VICE ADMISSION OF CHRISTIAN D. RUSH, ESQ.


        I, John Coppede, of Coal Creek Law, LLP, 1800 Carey Avenue, Suite 700, Cheyenne,

Wyoming       82003-0467,       telephone   number,       307-634-1525,   and   email   address

jcoppede@coalcreeklaw.com, hereby move for admission pro hac vice of Christian D. Rush.

        I am a member in good standing of the Bar of the State of Wyoming and the Bar of this

Court. I vouch to the best of my knowledge and belief, for the good moral character and veracity

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of Christian D. Rush. I will be fully prepared to represent the client at any time, in any capacity.

       Dated this 8th day of April 2024.


                                                              /s/ John A. Coppede______________
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